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                                                    Exhibit A

                         Settlement Agreement Summary of Proposed Terms

          As set forth more fully in Exhibit 1 to the Order, the key provisions of the Settlement

Agreement are summarized below: 1

                                  Settlement Agreement Summary of Terms

                                  The first date by which both the following have occurred: (a) the
    Effective Date
                                  Settlement Order has become a Final Order and (b) the Summary Judgment
                                  Order has become a Final Order.

                                  The Settlement Payment is comprised of: (a) an initial contribution of a
                                  first priority secured debtor-in-possession delayed draw term loan facility
                                  of up to $50 million (the “DIP Facility,” and loans thereunder, the “DIP
                                  Loans”), available upon the Court’s entry of an order approving the DIP
    Settlement Payment            Motion (the “Initial Settlement Contribution”); and (b) an amount equal to
                                  $535 million less the aggregate principal amount of DIP Loans funded in
                                  Cash by NICO or its designee, within five business days of the Debtors
                                  giving NICO notice of the occurrence of the Effective Date and provided
                                  the Effective Date has occurred (the “Settlement Contribution, and together
                                  with the Initial Settlement Contribution, the “Settlement Payment”).
                                  Any and all actions, Claims, rights, remedies, defenses, counterclaims,
                                  suits, and Causes of Action (a) owned or held, or assertable by or on behalf
                                  of any Debtor or its Estate (including, without limitation, claims assertable
                                  by the Tort Claimants’ Committee or FCR, or by any other creditors, on
                                  behalf of any Debtor or its Estate), (b) that constitute property of the Estates
                                  under section 541 of the Bankruptcy Code, (c) that are or may be
                                  commenced or pursued by a representative of the Debtors or the Estates,
                                  including pursuant to sections 323 or 362 of the Bankruptcy Code or
                                  chapter 5 of the Bankruptcy Code, (d) to avoid, invalidate or recover any
    Estate Causes of Action
                                  transfer of any kind made by any Debtor, or any obligation of any Debtor,
                                  including under chapter 5 of the Bankruptcy Code or other applicable law,
                                  (e) that constitute Successor Liability Claims, or (f) otherwise assertable
                                  by any Debtor or its Estate under any federal, state, or other applicable law
                                  seeking to establish a non-Debtor’s liability for existing or future Tort
                                  Claims, Environmental Claims, Indirect Environmental Claims, or other
                                  Claims against the Debtors; in all cases, however denominated and whether
                                  or not asserted, whether known or unknown, in law, at equity or otherwise,
                                  whenever and wherever arising under the laws of any jurisdiction.
    Chapter 11 Plan               The Contributing Parties shall support confirmation of a chapter 11 plan,
                                  including all exhibits, supplements, and amendments thereto (collectively,


1     To the extent there is any inconsistency between the terms set forth in the Settlement Agreement and the terms
      described herein, the Settlement Agreement shall control in all respects.
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                             Settlement Agreement Summary of Terms
                             as may be amended from time to time, the “Plan”) that is consistent in all
                             respects with the terms in the Plan Term Sheet attached as Exhibit B to the
                             Settlement Agreement and is otherwise consistent with the Settlement
                             Agreement and reasonably acceptable to NICO.

                             Without limitation, the Contributing Parties and the Debtors release each
                             other, as well as their respective Related Parties, of and from any and all
 Mutual Releases
                             Causes of Action and Estate Causes of Action, as applicable, arising out
                             of, in connection with, or relating to any matters occurring before the
                             Effective Date, all as more fully set forth in the Settlement Agreement.

                             The terms of the Settlement Agreement shall be dependent upon entry of
 Conditions Precedent
                             the Settlement Order containing terms and provisions acceptable to the
                             Parties, as well as certain other conditions set forth therein.

                             The Court shall retain exclusive jurisdiction to enforce the Order, including
                             to determine, without limitation, whether (a) any claim brought against any
                             Non-Debtor Released Party constitutes a Debtor Estate Cause of Action
 Retention of Jurisdiction   and is subject to the prohibition against prosecution of such claim and
                             (b) any claims brought against any of the Debtor Releasees constitute
                             Brenntag Released Claims, NICO Released Claims, and/or DB US
                             Released Claims, as applicable, and are subject to the prohibition against
                             prosecution of such claims.

                             NICO may terminate this Settlement Agreement, effective upon five
                             business-days’ notice to the Debtors, if any of the following occur:
                             (1) entry of an order by any court denying the Settlement Motion; (2) entry
                             of an order by any court reversing or vacating an order approving the
                             Settlement Motion; (3) entry of an order by any court reversing, modifying,
                             or vacating the Summary Judgment Order; (4) entry of an order by any
                             court appointing a chapter 11 trustee in the Chapter 11 Cases; (5) entry of
 Termination Events
                             an order by any court dismissing any of the Chapter 11 Cases or converting
                             any of the Chapter 11 Cases to chapter 7; (6) entry of an order by any court
                             granting any person other than the Debtors standing to assert the Estate
                             Causes of Action; or (7) an uncured default or Event of Default under the
                             DIP Order and DIP Term Loan Facility pursuant to the terms of the DIP
                             Order and the DIP Credit Agreement. NICO shall not be required to seek
                             relief from the automatic stay in order to serve notice of termination, and
                             to terminate, the Settlement Agreement pursuant to this paragraph.




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